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5    Attorney for Petitioner
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6

7                  IN THE UNITED STATES DISTRICT COURT FOR THE

8                        EASTERN DISTRICT OF CALIFORNIA

9
     UNITED STATES,                     )    No. CR.S.08-438 FCD
10                                      )
                   Plaintiff,           )
11
                                        )    APPLICATION AND ORDER
12
                                        )    REQUESTING TO ALLOW DEFENDANT
                                        )    TO DEFENDANT TO MAKE
13                 v.                   )    INTERNATIONAL CALL
                                        )
14   ARISTEO HERNANDEZ MONTANO,         )
                                        )
15                 Defendant.           )
                                        )
16
          Defendant ARISTEO HERNANDEZ MONTANO, by and through his
17
     attorney, makes the following application to the Court:
18
          1. The defendant is presently in federal custody at the
19

20        Sacramento County Jail and has been incarcerated for

21   approximately for approximately 11 months.

22        2. The defendant’s mother, who resides in Mexico City,

23   Mexico is reportedly ill and defendant has concerns for her

24   well-being.
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1         3. The telephones at the jail are accessible to inmates for
2    international calls only upon the direction of the Court.
3
          4. Accordingly, it is requested that this Court direct the
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     Sheriff of Sacramento County to provide the defendant with
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     access to a telephone on which he can make one call to Mexico,
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     at his expense.
7

8    DATED:      August 18, 2009         Respectfully submitted,

9

10                                       /S/MICHAEL B. BIGELOW
                                         Attorney for Defendant
11

12
                                       O R D E R
13

14        Good cause appearing, IT IS HEREBY ORDERED that the Sheriff

15   of Sacramento County, or his agent or employee, consistent with

16   security procedures, allow defendant ARISTEO HERNANDEZ-MONTANO
17   XREF No. 4477495 have access to a telephone on which he can
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     place a call to his mother in Mexico. This order is contingent
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     upon the defendant’s use of an international telephone calling
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     card so that there will be no long distance costs to the County
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     of Sacramento.
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23
     DATED: August 19, 2009              _______________________________________
24                                       FRANK C. DAMRELL, JR.
                                         UNITED STATES DISTRICT JUDGE
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